Case 2:10-md-02179-CJB-DPC Document 12103-2 Filed 01/08/14 Page 1of1

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF LOUISIANA

IN RE: Oil Spill by the Oil Rig)
“Deepwater Horizon”
In the Gulf of Mexico.
On April 20, 2010

MDL 2179
SECTION J

This document relates to: JUDGE BARBIER
No. 12-970, Bon Secour

Fisheries, Inc., et al v. BP MAG. JUDGE SHUSHAN

And All Actions

LIST OF EXHIBITS

Registration Form
Purple Claim Form
Eligibility Notice
Notice of BP Appeal
Initial Proposal and Brief — BP
Initial Proposal — Claimant
Initial Brief — Claimant
Final Proposal and Brief — BP
Final Proposal — Claimant
. Final Brief — Claimant
. Notice of Appeal Panel Decision
. Post-Appeal Eligibility Notice
. Rocon Signed Eligibility Notice

SCHON AARWN>

— ee
WNrR ©"
